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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MAJOR GEORGE TILLERY                     :
                                         :              CIVIL ACTION
                                         :
                                         :
             v.                          :
                                         :
                                         :
KENNETH EASON, et al                     :              NO.: 20-cv-02675
ACTING SUPERINTENDENT, STATE             :
CORRECTIONAL INSITITUTION AT CHESTER     :
                                       ORDER

             AND NOW, this 29TH day of OCTOBER 2020, in accordance with the

court’s procedure for random reassignment of cases, it is hereby,

             ORDERED that the above-captioned case is referred for reassignment

from the calendar of the Honorable Linda K. Caracappa, United States Magistrate

Judge, to the calendar of the Honorable Lynne A. Sitarski, United States

Magistrate Judge.


                                             FOR THE COURT:


                                             JUAN R. SÁNCHEZ
                                             Chief Judge

                                             ATTEST:


                                             ________________________
                                             KATE BARKMAN
                                             Clerk of Court
